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 4                           UNITED STATES DISTRICT COURT

 5                           EASTERN DISTRICT OF CALIFORNIA

 6

 7   UNITED STATES OF AMERICA,                No. 2:15-cr-116-GEB
 8                    Plaintiff,
 9        v.                                  ORDER REGARDING DEFENDANT’S IN
                                              CAMERA SEALING REQUEST
10   JOSEPH RYAN,                             CONCERNING THE SENTENCE HE
                                              DESIRES
11                    Defendant.
12

13               On    May 27,     2016,   Defendant    emailed   chambers   his   in

14   camera request to have filed under seal the following documents:

15   (1) Exhibit B—his neuropsychological evaluation; and (2) Exhibit

16   C—two pages from his hospital records. Defendant references these

17   exhibits    in    his   Amended   Objection   to    his   Presentence   Report

18   (PSR), filed on the public docket as ECF No. 109, as having been

19   filed under seal. His Amended Objection includes the following

20   argument:

21               Mr. Ryan qualifies for a diminished capacity
                 departure because he committed the offense
22               while   suffering  a   significantly  reduced
                 mental capacity because he is borderline
23               intellectually disabled . . . . (See Exhibits
                 B & C)
24
                      The diminished capacity departure should
25               account for his significantly reduced mental
                 capacity. His significantly reduced mental
26               capacity contributed substantially to the
                 commission of the offense because his brain
27               injury   and   poor   cognitive    functioning
                 significantly impaired [his] judgments about
28               what occurred in his daily activities.
                                       1
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 1                     Diminished capacity is met because Mr.
                  Ryan has a significantly impaired ability to
 2                exercise   the   power  of   reason,  as   is
                  documented in his school records and recent
 3                assessment, which demonstrated that he is
                  borderline intellectually disabled.      This
 4                information also supports a variance from the
                  guideline range.
 5

 6   (Def.’s Objection to His PSR 3:3-20, ECF No. 109.)

 7                Defendant further argues in his public sealing notice

 8   that   the   “neuropsychological           evaluation     (Exhibit    B)    and    [the

 9   referenced     two     pages     from   his]    medical   records     (Exhibit      C)”

10   “contain [his] private medical history that is not for public

11   record   and    cannot      be    easily   redacted   without      losing    material

12   information.” (Def.’s Pub. Sealing Notice 1:17-21, ECF No. 107.)

13                Defendant also filed on the public docket as ECF No.

14   107-1 his “Proposed Order to Seal Documents,” which would grant

15   the sealing request as follows:

16                IT IS HEREBY ORDERED that the Request to Seal
                  be granted and that the neuropsychological
17                evaluation by Dr. Khazanov (Exhibit B) and
                  medical records (Exhibit C), be filed under
18                seal because they contain defendant’s private
                  medical information. The Assistant United
19                States   Attorney   Michelle  Rodriguez   and
                  Probation Officer, Carol Chavez are permitted
20                access to this document.

21   (ECF No. 107-1.) This proposed order does not explain whether the

22   information in the documents Defendant seeks to have sealed could

23   be   discussed    in    a   publicly       filed   sentencing      brief    and    in   a

24   courtroom      open    to   the    public.      Generally,   the    public    is    not

25   excluded from “sentencing proceedings.” United States v. Rivera,

26   682 F.3d 1223, 1228 (9th Cir. 2012). “The presence of the public

27   at sentencing reminds the participants, especially the judge,

28   that the consequences of their actions extend to the broader
                                                 2
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 1   community.” Id. at 1230.

 2               Before       closure      or    secrecy    could          be   authorized    in

 3   connection with a sentencing proceeding, the proponent of secrecy

 4   must “articulate[] compelling reasons [justifying secrecy which

 5   are]    supported    by    [facts      sufficient         to    constitute]        specific

 6   factual     findings,”        which    are       required       to     justify     sealing,

 7   redaction and/or closure of a proceeding. Foltz v. State Farm

 8   Mut. Auto. Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003).

 9               “When ruling on a motion to seal court records, the
10   district court must balance the competing interests of the public
11   and the party seeking to seal judicial records.” In re Midland
12   Nat. Life Ins. Co. Annuity Sales Practices Litig. (“In re Midland

13   Nat.”), 686 F.3d 1115, 1119 (9th Cir. 2012) (internal citations

14   and    quotations    omitted);        see    also   PCT     Int’l      Inc.   v.    Holland

15   Elecs. LLC, No. CV-12-01797-PHX-JAT, 2014 WL 4722326, at *5 (D.

16   Ariz. Sept. 23, 2014) (“[T]he Court has an independent duty to

17   follow the binding [secrecy and sealing] law of the Ninth Circuit

18   Court of Appeals, [and] the Court [should] not permit sealed

19   documents       absent    the      requisite        showing          [under    a    sealing
20   doctrine].”).       To     seal       records,      the        district       court     must

21   “articulate[] compelling reasons supported by specific factual

22   findings” to seal, “without relying on hypothesis or conjecture.”

23   Foltz,    331     F.3d   at    1135    (citations         and    internal        quotations

24   omitted, and emphasis added). “Unless a particular court record

25   is one traditionally kept secret, a strong presumption [exists]

26   in favor of [public] access [to a document]. A party seeking to

27   seal a judicial record [therefore] bears the burden of overcoming

28   this     strong    presumption        by     meeting      the        compelling     reasons
                                                  3
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 1   standard.” Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172,

 2   1178-79      (9th    Cir.        2006)       (internal         quotations        and        citations

 3   omitted). “[T]he weight to be given the presumption of access

 4   [is]   governed       by    the       role    of       the    material      at     issue      in   the

 5   exercise of Article III judicial power and resultant value of

 6   such information to those monitoring the federal courts.” IDT

 7   Corp. v. eBay, 709 F.3d 1220, 1224 (8th Cir. 2013) (internal

 8   citations and quotation omitted).

 9                Defendant’s          conclusory            argument      that       the    referenced
10   exhibits “contain the defendant’s private medical history that is
11   not    for   public        record[,]”         (ECF       No.    107),    does       not      provide
12   sufficient        reason     to       justify          the      requested        sealing.          “[A]
13   formulaic recitation of a privacy interest will not suffice to
14   justify sealing.”           United States v. King, No. 10 CR 122 JGK, 2012
15   WL 2196674, at *4 (S.D.N.Y. June 15, 2012) (denying defendant’s

16   request      to     file    under        seal      “records         relate[d]          to    medical

17   conditions        that     the    Court       ha[d]          been   asked     to    consider         in

18   arriving at the sentence . . . [that were] neither extensive, nor

19   . . . delve[d] into extraneous matters”); see United States v.
20   Sattar, 471 F. Supp. 2d 380, 388 (S.D.N.Y. 2006) (indicating that

21   when applying the presumptive common law right of access to a

22   psychiatric report submitted to influence a judge’s sentencing

23   decision,     an     evaluation          is    involved         concerning         whether         “the

24   interests of personal privacy . . . are sufficiently compelling

25   to overcome the presumption of access”).

26                Even     where       a    measure         of     secrecy    is      appropriate,         a

27   “guiding principle . . . is that as much information as possible

28   should remain accessible to the public and no more should be
                                                        4
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 1   sealed than absolutely necessary.” Lahrichi v. Lumera Corp., No.

 2   C04–2124C, 2007 WL 1521222, at *2 (W.D. Wash. May 22, 2007);

 3   Washington Post v. Robinson, 935 F.2d 282, 289 (D.C. Cir. 1991)

 4   (stating that “[t]he trial court should only seal that part of

 5   its   findings      that     is     necessary      to    protect     [what      should    be

 6   secret]”).      Consistent           with    this        principle,      “courts        have

 7   recognized [certain shown privacy interests] that may call for

 8   redaction      of     the     materials       or     withholding        of      disclosure

 9   outright.” United States v. Bus. of Custer Battlefield Museum &
10   Store,   658     F.3d       1188,     1195   n.5     (9th    Cir.      2011).     Although

11   Defendant     asserts       he    cannot     easily      make     redactions     “without

12   losing material information,” (ECF No. 107), he has neither shown

13   what “material information” would be lost, nor that the interests

14   of documents being filed on the public docket and proceedings

15   being open to the public are outweighed by his interests in

16   sealing the exhibits. See In re Midland Nat., 686 F.3d at 1119.

17                 Since Defendant has not justified his sealing request,

18   it is denied. Therefore, the documents submitted for sealing are

19   treated as having been returned to Defendant so that he can
20   decide how to proceed in light of this ruling. See generally

21   Local Rule 141(e)(1) (prescribing that if a sealing “[r]equest is

22   denied   in    full     or    in     part,    the    Clerk      will    return     to    the

23   submitting      party       the     documents      for    which     sealing     has     been

24   denied”); United States v. Big Leggins, 375 F. App’x 692, 693

25   (9th Cir. 2010) (indicating that the district court had authority

26   to issue the directive that defendant “could either withdraw the

27   report or resubmit it in redacted form”); United States v. Baez-

28   Alcaino, 718 F. Supp. 1503, 1507 (M.D. Fla. 1989) (indicating
                                                  5
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 1   that when a judge denies a sealing request the party submitting

 2   the request then decides how to proceed in light of the ruling).

 3   Dated:   July 7, 2016

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